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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

MANAFORT BROTHERS, INC.                      )
    Plaintiff,                               )
                                             )
v.                                           )      CIVIL ACTION NO.:
                                             )
FEDERAL HIGHWAY                              )
ADMINISTRATION, and UNITED                   )
STATES DEPARTMENT OF                         )
TRANSPORTATION                               )
     Defendants.                             )

                            COMPLAINT AND JURY DEMAND

                                           PARTIES

        1.     Plaintiff, Manafort Brothers, Inc. (“Manafort”), is a corporation organized and

existing under the laws of the State of Connecticut, with a principal place of business located at

414 New Britain Avenue, Plainville, Connecticut.

        2.     Defendant, Federal Highway Administration (“FHWA”), is an operating

administration of the U.S. Department of Transportation (“DOT”).

        3.     Defendant, Department of Transportation (“DOT”), by and through Sharon

Vaughn-Fair, in her capacity as Assistant Chief Counsel for Field Legal Services-North, has a

principal place of business at 10 S. Howard Street, Suite 4000, Baltimore, Maryland.

                                            FACTS

        4.     On or about January 11, 2013, the State of Rhode Island (the “State”) and

Manafort executed a contract agreement (the “Contract”) regarding a public works project

consisting of constructing a new and independent, approximately 1,290 foot, southbound bridge

(4 lanes) on the west side of an existing structure and also reconstructing an adjacent ramp

structure to the north and south of the Providence Viaduct (the “Providence Viaduct Project”).




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        5.     Rhode Island Department of Transportation (“RIDOT”) administered the Contract

on behalf of the State of Rhode Island and acted as its authorized representative with respect to

all aspects of the Providence Viaduct Project.

        6.     The State retained Manafort to serve as the General Contractor for the Providence

Viaduct Project.

        7.     Pursuant to the Contract, Defendants agreed to pay Manafort for all damages,

costs, fees, and expenses related to differing or unexpected site conditions, project delays, and

extra work.

        8.     Manafort encountered obstructions during the Project.

        9.     Manafort encountered unknown and unforeseen differing underground site

conditions and obstructions during the Providence Viaduct Project.

        10.    As a result, the Providence Viaduct Project experienced delays.

        11.    Manafort submitted claims to the State and RIDOT for the costs and expenses it

incurred in connection with the unknown and unforeseen differing underground site conditions

and project obstructions during the Providence Viaduct Project (the “Differing Site Conditions

Claim”) as well as for the delays (the “Project Delay Claim”).

        12.    In response to Manafort’s claims, the State and RIDOT agreed to settle and pay

Manafort compensation for the Differing Site Conditions Claim and the Project Delay Claim (the

“Settlement Agreement”).

        13.    Thereafter, the State and RIDOT breached the Settlement Agreement and refused

to pay Manafort.

        14.    Manafort commenced a civil action in Providence Superior Court captioned as

Manafort Brothers, Inc. v. State of Rhode Island, by and through Seth Magaziner, in his capacity



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as General Treasurer, and Rhode Island Department of Transportation, by and through Peter

Alviti, Jr., P.E., in his capacity as Director (Civil Action No.: PC-2016-4542) (the “Action”).

        15.      In the Action, Manafort alleged, in part, that the State and RIDOT breached the

Settlement Agreement.

        16.      In defending the Action, the State and RIDOT allege that the Settlement

Agreement required approval from the Federal Highway Administration (“FHWA”).

        17.      Further, in defending the Action, the State and RIDOT allege that they

communicated with FHWA concerning the Settlement Agreement, however they were unable to

obtain FHWA’s approval for the Settlement Agreement.

        18.      Carlos Machado and Anthony Rotondo are employees of FHWA.

        19.      Carlos Machado and Anthony Rotondo were primary contacts between FHWA

and State/RIDOT concerning the Providence Viaduct Project.

        20.      It is unclear from discovery conducted in the Action, what, if any,

communications occurred between State/RIDOT and FHWA concerning the Settlement

Agreement. This information is necessary and determinative for the underlying Action.

        21.      Accordingly, on or about March 22, 2017, counsel for Manafort mailed a request

for deposition pursuant to 49 C.F.R. § 9.15 to Charles Enloe, Esq., Office of the General Counsel

and requested the deposition testimony of FHWA employees Carlos Machado and Anthony

Rotondo (the “Request for Deposition”). See Exhibit 1, Request for Deposition pursuant to 49

C.F.R. § 9.15.

        22.      On or about May 15, 2017, Sharon Vaughn-Fair, Esq., counsel for the U.S.

Department of Transportation responded to the Request for Deposition and denied the Request

for Deposition (the “Denial”). See Exhibit 2, Denial.



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        23.    In the Denial, Attorney Vaughn-Fair states, in part, the following:

               A private litigant may, as you have here, request that agency
               counsel permit employee testimony. Id. at § 9.15. Agency counsel
               may grant such a request only when doing so ‘will not interfere
               with matters of operational…necessity,’ and upon determining that
               (1) permitting testimony ‘is necessary to prevent a miscarriage of
               justice:’ (2) DOT ‘has an interest in the decision that may be
               rendered in the legal proceeding’; or (3) permitting testimony ‘is in
               the best interest of the Department or the United States’. After
               carefully reviewing your submission, FHWA has concluded that
               none of the factors listed in 49 C.F.R. §9.1(c) have been
               established here, and that permitting testimony would not be
               appropriate.

See Exhibit 2, Denial.

        24.    In the Denial, Attorney Vaughn-Fair states the following concerning the factors

listed in 49 C.F.R. §9.1(c):

               First, employee testimony in this matter is not necessary to prevent
               a miscarriage of justice. Manafort primarily seeks information
               about communications between FHWA and Rhode Island. But
               that information is equally available from Rhode Island itself,
               which is a party to the litigation. In addition, FHWA has not
               received a Freedom of Information Act (FOIA) request from your
               office seeking the disclosure of records, which may contain factual
               information pertinent to plaintiff’s inquiry. (Should your office
               decide to submit a FOIA request, it should be directed to the
               FHWA Rhode island Division and be in compliance with DOT’s
               FOIA regulations at 49 C.F.R. Part 7.) Thus, Manafort has not
               shown ‘that the information desired is not reasonably available
               from other sources, including Departmental documents.’ Id. §
               9.15(a)(5).

               Second, FHWA and DOT do not have an interest in any decision
               that may be rendered in the legal proceeding. Manafort does not
               argue otherwise.

               Third, allowing employee testimony in this matter would be in the
               best interest of FHWA, DOT, or the United States. Participating in
               contractual disputes between private parties is not related to the
               DOT’s mission. See id. § 9.1(b)(2). Further, allowing FHWA
               employees to provide testimony to the plaintiff would violate
               DOT’s policy to maintain the impartiality of the Department


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               among private litigants. Id. § 9.1(b)(3). Finally, your request
               indicates a preference for taking the deposition testimony on a
               working day. The employees to be deposed would have to take
               time away from their duties to prepare for and attend these
               depositions. Further, members of FHWA’s Office of Chief
               Counsel would have to take time away from their duties to prepare
               for these depositions, as well as travel to them. Authorizing
               FHWA employees to forgo their official duties to provide
               testimony for a private litigant violates DOT’s policies to conserve
               employee time for conducting official business, and to avoid
               spending the time and money of the United States for private
               purposes. Id. § 9.1(b)(1), (5). In addition, your request for
               testimony regarding ‘the nature and extent of the unforeseen site
               conditions encountered during the construction project and the
               responsibility for the delays and disruption associated with the site
               conditions’ would require the FHWA employees to give opinion
               testimony, and therefore violates 49 C.F.R. § 9.9(c), which
               provides that ‘an employee shall not testify as an expert or opinion
               witness with regard to any matter arising out of the employee’s
               official duties or the functions of the Department.’

Id.

        25.    The deposition testimony of FHWA employees Carlos Machado and Anthony

Rotondo concerning the Settlement Agreement and the Providence Viaduct Project is necessary

to prevent a miscarriage of justice.

        26.    Manafort has made substantial efforts to obtain the necessary information in

alternative methods to the employees’ testimony. Manafort made a request pursuant to the

Freedom of Information Act (“FOIA”) to FHWA on August 9, 2017 (the “FOIA Request”).

FHWA’s response to the FOIA Request did not contain any written communications between

FHWA employees Carlos Machado and Anthony Rotondo concerning the Settlement

Agreement.

        27.    Based on information belief, FHWA and DOT have a financial interest in the

Settlement Agreement.




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        28.       Accordingly, permitting the testimony of Carlos Machado and Anthony Rotondo

is in the best interest of FHWA, DOT and the United States because of their financial interest in

the Settlement Agreement.

                                            COUNT I
                    Violation of Administrative Procedures Act , 5 U.S.C. § 706
                                     Manafort v. Defendants

        29.       Manafort repeats and re-alleges the allegations contained in paragraphs 1 through

28 as if expressly re-written and set forth separately herein

        30.       The Denial and the Defendants refusal to produce FHWA employees Carlos

Machado and Anthony Rotondo for deposition testimony concerning the Settlement Agreement

and the Providence Viaduct Project contravenes the law of the Administrative Procedure Act, 5

U.S.C. § 706(2)(A), because the Defendants arbitrarily and capriciously denied Manafort’s

Request for Deposition under 49 C.F.R. §9.1.

        31.       With respect to Manafort’s Request for Deposition pursuant to 49 C.F.R. § 9.15,

Manafort can establish the Request was proper under each of the three factors enumerated in 49

C.F.R. §9.1(c).

        32.       The deposition testimony of Mr. Machado and Mr. Rotondo concerning the

Settlement Agreement and the Providence Viaduct Project is necessary to prevent a miscarriage

of justice. Additionally, based on information belief, FHWA and DOT have a financial interest

in the Settlement Agreement and accordingly, the depositions would be in the best interest of

FHWA and DOT.

        33.       By establishing each of the factors listed under 49 C.F.R. §9.1(c), FHWA/DOT

should have permit the deposition testimony of FHWA employees Carlos Machado and Anthony

Rotondo concerning the Settlement Agreement and the Providence Viaduct Project



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                                    DEMANDS FOR RELIEF

        WHEREFORE, the plaintiff, Manafort, respectfully requests the Court:

        1.     Pursuant to the Administrative Procedure Act, 5 U.S.C. § 706(2)(A), enter a

judgement against the Federal Highway Administration and Department of Transportation, and

issue an order that requires the Defendants to grant Manafort’s Request for Deposition and

produce the FHWA employees Carlos Machado and Anthony Rotondo for deposition testimony.

        2.     Fashion such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

        The plaintiff demands a jury trial on all claims and issues so triable.

                                               Respectfully submitted,
                                               Manafort Brothers, Incorporated,
                                               By its attorney,



Dated: December 7, 2017                        /s/ John A. Donovan, III _______
                                               John A. Donovan, III, Esq., #5707
                                               Lindsay N. Hamilton, Esq., #9632
                                               SLOANE AND WALSH, LLP.
                                               Three Center Plaza, 8th Floor
                                               Boston, MA 02108
                                               (p) 617-523-6010
                                               (f) 617-227-0927
                                               (e) jdonovan@sloanewalsh.com




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